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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

              v.                                                 21-CR 596

CARLA KRZYWICKI



                   MEMORANDUM IN SUPPORT OF PROBATION

       On March 2, 2020 Carla Krzywicki met with the House of

Representatives Committee investigating the events of January 6th 2021.

Investigative Counsel Sean Quinn, Marcus Childress and James Sasso

conducted a transcribed interview into her motivation and participation in

the events of January 6th at the U.S. Capitol. After a thorough and intense

two hours of asking questions, the Attorney Investigator Sasso stated,

“Carla, you are a breath of fresh air. So many of the witnesses we have

spoken to try to minimize their involvement. Thank you. It has been a

pleasure to meet with you.” Sean Quinn stated his appreciation for her

candor and honesty. I share their appreciation. Her voluntary interview was

important to show her genuine remorse and to help her as well as our nation

to make sense of what occurred that heartbreaking day.

From: Quinn, Sean <Sean.Quinn2@mail.house.gov>To: Childress, Marcus
<Marcus.Childress@mail.house.gov>; Heather Shaner <hhsesq@aol.com>; n



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earlycarlajeankrzywicki@gmail.com <carlajeankrzywicki@gmail.com>
Cc: Sasso, James <James.Sasso@mail.house.gov>
Sent: Tue, Mar 1, 2022 12:07 pm
Topic: Carla Krzywicki - Transcribed Interview Time: March 2, 2022 03:00 PM Eastern Time (US and
Canada)




       From the day I was appointed to represent Ms. Krzywicki, in

September of 2021 she has been a delight to represent. From day one, she

accepted responsibility and requested an early plea. She has been

completely open, honest and cooperative with counsel. On January 11,

2022, she entered a plea to Parading, Demonstrating or Picketing in a

Capitol Building in violation of 40 USC § 5104(e)(2)(G).


       Since her release in September 2021 she has been compliant with Pre-

Trial Services. She follows court directions and obeys Pretrial Services’ rules

and regulations. She telephones weekly.                  She pursued the referrals for

mental health services from Pre-trial services.                    She is employed as a

manager at Wendy’s Restaurant in Colchester, Connecticut where she works

between 35-50 hours a week. She is also a student at Three Rivers

Community College in Norwich, Connecticut. She has recently changed her

major from engineering to psychology. In light of her own childhood

struggles and her personal history she states her dream job would be as a

therapist for children. PSR ¶ 47 & 49.




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      Carla is not, and has never been, a political activist. She came to

Washington D.C. with her mother, as a replacement to her mother’s friend

who cancelled at the last minute. She did not want her mother to travel

alone due to her other’s heart condition. The instant offense is truly aberrant

conduct. Until January 6th she accepted whatever her mother told her about

politics without question. Since that date she has begun to question

information, both from her mother and from the television news. She was

very shaken on January 6th. Her concept of herself and her place in America

was changed dramatically. She has become less a true believer and more a

newly awakened critical citizen. She is informing herself about the world and

rethinking the information, she had earlier accepted without question.


      Last January Carla joined her mother to attend the rally on the ellipse.

Their bus was delayed and by the time it arrived in Washington, the rally

was over. The bus driver dropped off Carla with her mother and the other

passengers from the bus, at the Capitol. She joined the crowd and later

accessed the Capitol by climbing a bike rack. She entered the Capitol during

the chaos and walked toward the Capitol Crypt. She and her mother

walked around inside the building. There was chanting, noise, fighting and

tear gas. After about thirty minutes they exited, found their bus and returned

to Connecticut.




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     Ms. Krzywicki’s culpability appears to be minimal in contrast with

rioters who destroyed or stole government property or who assaulted or

threatened law enforcement officers. The Government characterizes the

deletion of a single facebook post by Carla -- as her trying to conceal

evidence. That is not correct. Carla deleted this single post when she looked

at it and no longer agreed with what she had written. She deleted it because

she realized it was wrong.


     I urge the Court to follow the recommendation of the Office of U.S.

Probation and Carla Krzywicki on Probation for twenty four months. She is

a very motivated young woman and will be successful on probation. Early

payment of restitution and court costs within six months and hours of

community service would satisfy the need for punishment and deterrence.

It would also permit her to show her good citizenship to her community.


     Were this charge have been brought in D.C. Superior Court Ms.

Krzywicki would have qualified for Sentencing under the Youth

Rehabilitation Act.    The charge could be expunged once the term of

probation was completed successfully. One question the YRA asks is “At

the moment of the offense what were the family circumstances?” Another

question is “At that moment did the youth have the ability to appreciate the

risks and consequences of his/her conduct?” Both questions are relevant to


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Carla. She was living with her mother and was a very vulnerable and very

controlled only child. She was not independent and was fully influenced by

her mother. She never would have gone to Washington on January 6th 2021

on her own volition. At that moment she apparently did not have the ability

to appreciate the risks and consequences of her conduct. She does today.


      She is making her own decisions. She is choosing where to live. Where

to work. How to get help to make herself a better world citizen. Learning

what she can do to make the world a better place. She is stronger, smarter

and more independent than she was a year ago.            She is no longer a

wounded, vulnerable and impressionable nineteen year old. She is learning

how to say yes and when to say no.


      On April 22, 2022 the Court will have an opportunity to address any

questions or concerns to Carla at in person Sentencing. I am sure the Court

will also find her to be a breath of fresh air.


                               Respectfully submitted,


                               ____________/s/______________________

                               H. Heather Shaner. #273276
                               Appointed by the Court for Carla Krzywicki
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